        Case 4:18-cv-00096-BMM Document 67 Filed 08/15/22 Page 1 of 6



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#2516

Attorney for Plaintiff


                IN THE UNITED STA TES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

                                                )
ROSE MARIE BUTTERFLY and JOY LYNN               )
VALLES ,                                        )
                                                )
                   Plaintiff,                   )
                                                ) CV-18-96-GF-BMM-JTJ
V.                                       )
                                         )
BENEFIS HEAL TH SYSTEM, KATHIE A VIS , )
PAMELA BLACKWELL, CASEY                  )
BUCKINGHAM, LISA WATSON-WHITFORD )
DONALD P. FISH.                          )
                                         )
              Defendants.                )
________________ __________            )

     BRIEF SUPPORTING CONSENTED UNOPPOSED MOTION TO
        WITHDRAW AS PLAINTIFFS ATTORNEY OF RECORD




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      COMES NOW, Michael Klinkhammer, Klinkhammer Law Offices, files this

Brief Supporting Consented Unopposed Motion to Withdraw As Plaintiffs

Attorney of Record.

      The Plaintiff Rose Marie Butterfly consented to the motion to withdraw as

attorney of record. See attached Exhibit 1. As indicated in the email attachment,

the financial demands are beyond the Plaintiffs abilities. In addition, at seventy

years of age and after having had COVID 19 at least one, Michael Klinkhammer

and Klinkhammer Law Offices face health issues that may adversely impacting

future representation. Finally, the Plaintiffs have insisted upon action on which

there is a fundamental disagreement.

      According to the Montana Rules of Professional Conduct, an attorney may

withdraw as attorney of record in the following circumstances:

      a. Except as stated in paragraph (c), a lawyer shall not represent a client or, where
      representation has commenced, shall withdraw from the representation of a client
      if:
      1. the representation will result in violation of the Rules of Professional Conduct
      or other law;
      2. the lawyer' s physical or mental condition materially impairs the lawyer's
      ability to represent the client; or
      3. the lawyer is discharged.
      b. Except as stated in paragraph (c ), a lawyer may withdraw from representing a
      client if:
      I. withdrawal can be accomplished without material adverse effect on the
      interests of the client;
      2. the client persists in a course of action involving the lawyer·s services that the
      lawyer reasonably believes is criminal or fraudulent ;
      3. the client has used the lawyer's services to perpetrate a crime or fraud ;
      4. the client insists upon taking action that the lawyer considers repugnant or with
      which the lawyer has a fundamental disagreement;
      5. the client fails substantially to fulfill an obligation to the lawyer regarding the


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      lawyer' s services and has been given reasonable warni ng that the lawyer will
      withdraw unless the obligation is fulfilled ;
      6. the representation will result in an unreasonable financial burden on the lawyer
      or has been rendered unreasonably difficult by the client; or
      7. other good cause fo r withdrawal exists.
      c. A lawyer must comply with applicable law requiring notice to or permission of
      a tribunal when terminating a representation. When ordered to do so by a tribunal ,
      a lawyer shall continue representation notwithstanding good cause for terminating
      the representation.

      Applied, first, the Plaintiff has consented to the withdrawal as attorney

of records. Second, Plaintiffs legal counsel has had COVID 19 at least one

and does not want health concerns to adversely affect hi s ability to represent

the Plaintiff(s) in federal district court. Third, the Plaintiff has requested

action on which Michael Klinkhammer and Klinkhammer Law Offices are

in fundamental disagreement. Consequently, it is respectfully requested that

the Court grant this motion. Finally, in support of the Defendant' s legal

counsel have indicated that the motion us unopposed. See attached Exhibit 2

      Dated this /Saay of     ,,4ur 14. r /-       , 2022.




                                    Attorney for Plaintiff

                             CERTIFICATE OF SERVICE

I, Michael Klinkhammer, the undersigned certify that on the /.S' day of August,
2022, the above captioned BRIEF SUPPORTING CONSENTED UNOPPOSED
MOTION TO WITHDRAW AS PLAINTIFFS ATTORNEY OF RECORD was
emailed and mailed to the following persons at the following addresses:


                                               3
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David M. McLean
Ryan C. Willmore
McLEAN & ASSOCIATES, PLLC
3301 Great Northern Ave., Suite 203
Missoula, Montana 59808
dave@mcleanlawmt.com
rya n@mcleanlawmt.com

Rose Butterfly
Joy Lynn Valle
519 4th Street S.
Great Falls, Montana 59406




                                      4
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Michael Klinkhammer

From:                              Michael Klinkhammer < mklinkhammer@montanadsl.net >
Sent:                              Friday, August 12, 2022 9:01 PM
To:                                'Rose Butterfly'
Subject:                           FW: Activity in Case 4:18 -cv-00096-BMM Butterfly v. Benefis Health System et al Order
                                   Setting Hearing on Motion
Attachments:                       Defendant's Reply Brief on Joy Valle.pdf



Rose

The Judge set the matter for the dismissal of Joy Valle for hearing September 8, 2022. I have attached the reply brief
filed.

In terms of discovery, they requested the facebook information. Did you email it and I missed it? Please remem ber we
have a limited window to get that out.

In terms of your case, I am going to file the motion to withdraw as your attorney of record tomorrow . You consented to
this recognizing the financial demands are beyond your needs. As I noted, I have had health issues including COVID 19 at
least once and under the circumstances am withdrawing with your consent.

In terms of the invoice for services, I will send you an update, but, as I am withdrawing, I will not seek payment for any
amount owed. I will provide you the information you need to work with the expert witness.

Sincerely
Michael Klinkhammer
Attorney at Law


From: MTD _CMECF@mtd.uscourts.gov <MTD _ CMECF@mtd.uscourts.gov>
Sent: Wednesday, August 10, 2022 8:35 AM
To: MTD_CMECF@mtd .uscourts.gov
Subject: Activity in Case 4:18-cv-00096-BMM Butterfly v. Benefis Health System et al Order Setting Hearing on Motion



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free copy and 30 page limit do not apply.

                                                    U.S. District Court


                                                   District of Montana


Notice of Electronic Filing

The following transaction was entered on 8/10/2022 at 8:35 AM MDT and filed on 8/10/2022
Case Name:           Butterfly v. Benefis Health System et al                                               EXHIBIT

                                                                                                      I         j_
                     Case 4:18-cv-00096-BMM Document 67 Filed 08/15/22 Page 6 of 6

Michael Klinkhammer
 •
From:                                    Michael Klinkhammer < mklinkhammer@montanadsl.net >
Sent:                                    Friday, August 12, 2022 9:03 PM
To:                                      'Ryan Willmore'
Subject:                                 RE: Amended Plaintiffs Responses to Requests for Production .pdf



Ryan

I made the request again. I am moving to withdraw as attorney for record tomorrow. Ms. Butterfly has consented as
well.

I hope you have a great weekend as well! However, .like most attorneys, we will probably be working.

Mike


From: Ryan Willmore <ryan@mcleanlawmt .com>
Sent: Friday, August 12, 2022 2:50 PM
To: Michael Klinkhammer <mklinkhammer@montanadsl.net>; Dave McLean <dave@mcleanlawmt.com>
Cc: Cecelia Hamilton <cecelia@mcleanlawmt.com>
Subject: RE: Amended Plaintiffs Responses to Requests for Production .pdf

Mike,

I'm following up on my email below regarding the Facebook account data. Please let us know when we can expect the
link to download.
Have a good weekend,
Thanks
Ryan

Ryan C. Willmore
Attorney at Law

McLean & Associates, PLLC
3301 Great Northern Ave., Suite 203
Missoula, MT 59808
Telephone: (406) 541-4440
Facsimile: (406) 540-4425
E-mail: ryan@mcleanlawmt.com

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and notify the sender immediately that you have received the communication in error.


From: Ryan Willmore <ryan@mcleanlawmt.com >
Sent: Tuesday, August 9, 2022 9:06 AM
To: Michael Klinkhammer <mklinkhammer@montanadsl.net>; Dave McLean <9.d.£aV\:!.!e~~mQ.!c;J_le~ai;!.!nJ..!IE.a~w~mJ..!tt.:!.c~ ~ • ' ! ! ! ~ ~ I I I I • •
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